                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF TENNESSEE
                                       NASHVILLE DIVISION

JAMES KNIGHT AND JASON MAYES,                         )
                                                      )
               Plaintiffs,                            )
                                                      )
v.                                                    )   Case No. 3:20-cv-00922
                                                      )   Judge Trauger
THE METROPOLITAN GOVERNMENT                           )
OF NASHVILLE AND DAVIDSON                             )
COUNTY,                                               )
                                                      )
               Defendant.                             )

                 DEFENDANT’S REPLY IN SUPPORT OF SUMMARY JUDGMENT

               The Court should reject Plaintiffs’ request to extend the unconstitutional conditions

doctrine as applied to property exactions in Nollan v. California Coastal Comm’n, 483 U.S.

825 (1987), Dolan v. City of Tigard, 512 U.S. 374 (1994), and Koontz v. St. Johns River

Water Mgmt. Dist., 570 U.S. 595 (2013), beyond the type of ad hoc, administrative exactions

at stake in those cases. Plaintiffs identify no controlling authority that compels this Court

to apply Nollan/Dolan scrutiny to a legislative land use condition such as the sidewalk

ordinance they challenge. Nor do they effectively counter the arguments that support a

restrained standard of review for legislative land use conditions. Accordingly, the Court

should recognize the longstanding doctrinal difference between administrative and

adjudicative land exactions, decline to find an exaction under Nollan/Dolan, and grant the

Metropolitan Government’s motion for summary judgment.

               A. A Deferential Standard Of Review For Legislative Exactions Is
                  Constitutionally Sound.
               Plaintiffs brush aside the administrative/legislative distinction that has guided

courts in several states to hold that generally applicable, legislative land use conditions are

not exactions subject to Nollan/Dolan scrutiny. (Pls.’ Resp. to Def.’s Mot. Summ. J., Doc.




{N0432493.1}
      Case 3:20-cv-00922 Document 35 Filed 10/11/21 Page 1 of 7 PageID #: 510
No. 29 at 2-3.) But to label this distinction “artificial” because administrative decisions can

be traced back to enabling legislation misses its constitutional and logical significance.

Plaintiffs focus on who carries out the alleged exaction, but the relevant issue is how the

exaction happens. “To be sure, the manner of state action may matter: Condemnation by

eminent domain, for example, is always a taking, while a legislative, executive, or judicial

restriction of property use may or may not be, depending on its nature and extent.”

Stop the Beach Renourishment, Inc. v. Fla. Dep’t of Env’t Prot., 560 U.S. 702, 715 (2010)

(emphasis added).

               This administrative/legislative distinction boils down to how much discretion is

vested in an unelected body. See San Remo Hotel, L.P. v. San Francisco City and Cty., 364

F.3d 1088, 1097 (9th Cir. 2004). The constitutional wrong that the high court scrutinized in

Nollan, Dolan, and Koontz is one where an administrative body uses its discretion over the

permit process to exact unlawful concessions from landowners. The exactions in Nollan,

Dolan, and Koontz came at the hands of such bodies with vast discretion, unlike the

automatic, legislative application of the sidewalk ordinance here. In Dolan, “the city made

an adjudicative decision to condition petitioner’s application for a building permit on an

individual parcel.” 512 U.S. at 385. In Nollan, an administrative body made extensive

findings of fact as to a single property and a nearby beach, and then demanded an

easement across the property. 483 U.S. at 828. Koontz involved horse-trading where an

administrative body presented a permit applicant with three choices: 1) reduce the size of

his development and grant an easement; 2) build the development as planned, grant an

easement, and improve government-owned land miles away; or 3) present other ideas that

the permitting body might “favorably consider.” Koontz, 570 U.S. at 601-02.




{N0432493.1}                                       2

      Case 3:20-cv-00922 Document 35 Filed 10/11/21 Page 2 of 7 PageID #: 511
               In each of these cases, an administrative body examined individual properties’

characteristics before imposing a condition on development. Not so here, where Plaintiffs

challenge an ordinance that applies automatically according to predetermined criteria.

There is no discretion as to when, where, or how the ordinance applies. In this way, the

sidewalk ordinance is similar to ordinances that have withstood takings challenges founded

on the same arguments that Plaintiffs employ here. (See Mem. Law Supporting Def.’s Mot.

Summ. J. at 14-17, 19-20.)

               B. No Binding Authority Extends Nollan/Dolan To Legislative Exactions.
               The Supreme Court has stated that to the extent that the unconstitutional

conditions doctrine applies in takings law, it is a “special application.” Lingle v. Chevron

U.S.A. Inc., 544 U.S. 528, 547 (2005) (citing Dolan, 512 U.S. at 385.) It follows then that the

starkly different constitutional contexts Plaintiffs cite — abortion, the death penalty, and

criminal clemency — should not dictate how the doctrine applies to takings claims. Indeed,

the Sixth Circuit has never applied the doctrine to a legislative exaction in the takings

context, and the cases Plaintiffs cite refer to Koontz only for the general principle that the

government may not coerce citizens to give up their constitutional rights in exchange for a

benefit. See, e.g., Planned Parenthood of Greater Ohio v. Hodges, 917 F.3d 908, 912-13 (6th

Cir. 2019). In Hodges, the Sixth Circuit actually noted one reason for limiting the

application of the doctrine, stating that “[a]ny risk of unequal application would arise in

this case only if we extend the unconstitutional-conditions doctrine for the first time to an

entity (here an abortion provider) that does not have a constitutional right.” Id. at 915

(emphasis in original).

               Furthermore, these cases concerned matters wherein legislatures have near

absolute power to impose conditions that affect constitutional rights. Abortion and prisoner

execution policy are the purview of legislatures, not administrative agencies. Thus, an

{N0432493.1}                                      3

      Case 3:20-cv-00922 Document 35 Filed 10/11/21 Page 3 of 7 PageID #: 512
administrative/legislative distinction is not doctrinally appropriate in such cases. Contrast

land use regulation, wherein elected bodies often delegate substantial decision-making

authority to administrative bodies. See, e.g., Koontz, 570 U.S. at 601-02.

               In addition, F.P. Dev., LLC v. Charter Twp. of Canton, 456 F. Supp. 3d 879 (E.D.

Mich. 2020), had nothing to say about whether Nollan/Dolan should apply to legislative

land use conditions. Id. at 883. The district court did not address the issue and cited none of

the cases that Plaintiffs use to argue for extending the unconstitutional conditions doctrine

to legislative exactions. The parties did not even brief the issue at the district court or the

Sixth Circuit. (Def.’s Mot. to Dismiss at 24-27, attached as Exhibit 1; Def.-Appellant’s Br. at

27-36, attached as Exhibit 2.)

               Plaintiffs’ other non-binding authorities are distinguishable. City of Portsmouth,

N.H. v. Schlesinger, 57 F.3d 12 (1st Cir. 1995), was not a takings case and concerned the

statute of limitations controlling a contract dispute between a developer and a city. Id. at

15. Com. Builders of N. Cal. v. City of Sacramento, 941 F.2d 872 (9th Cir. 1991), predated

Dolan and Koontz and did not address the question of law that is before this Court. Id. at

875. Levin v. City of San Francisco, 71 F. Supp. 3d 1072 (N.D. Cal. 2014), incorrectly

interpreted Ninth Circuit precedent on the way to misapplying Koontz by failing to examine

whether a rent-control ordinance operated on specific pieces of property, as opposed to the

choices of property owners to remove their properties from a specific kind of market. See

Glen Hansen, Let's Be Reasonable: Why Neither Nollan/Dolan Nor Penn Central Should

Govern Generally-Applied Legislative Exactions After Koontz, 34 PACE ENVTL. L. REV. 237,

269-75 (2017). Cheatham v. City of Hartselle, No. CV-14-J-397-NE, 2015 WL 897583 (N.D.

Ala. Mar. 3, 2015), examined a subdivision application that required fact-intensive,

administrative review; unsurprisingly, the parties agreed that Nollan/Dolan applied. Id. at



{N0432493.1}                                        4

      Case 3:20-cv-00922 Document 35 Filed 10/11/21 Page 4 of 7 PageID #: 513
*1-3. In Nat’l Ass’n of Home Builders of U.S. v. Chesterfield Cty., 907 F. Supp. 166 (E.D. Va.

1995), the court did not need to decide whether Nollan/Dolan applied because of the facial

nature of the challenge to a municipal policy. Id. at 168. Similarly, in Town of Flower

Mound v. Stafford Ests. Ltd. P’ship, 135 S.W.3d 620 (Tex. 2004), the Texas Supreme Court

did not decide whether Nollan/Dolan applied to legislative exactions generally; rather, the

court found that “it is enough to say that we can find no meaningful distinction between the

condition imposed on Stafford and the conditions imposed on Dolan and the Nollans.” Id. at

641. Curtis v. Town of S. Thomaston, 708 A.2d 657 (Me. 1998), recognized a difference

between legislative and administrative conditions, but in the context of a rough

proportionality analysis, an unusual approach that no other court appears to have followed.

Id. at 660. N. Ill. Home Builders Ass’n, Inc. v. Cty. of Du Page, 649 N.E.2d 384 (Ill. 1995),

applied the obsolete “substantially advances” test for exactions that the Supreme Court cast

aside in Lingle, 544 U.S. at 540. N. Ill. Home Builders, 649 N.E. at 389-90. Finally,

Delchester Devs., L.P. v. Zoning Hearing Bd. of Twp. of London Grove, 161 A.3d 1081 (Pa.

Commw. Ct. 2017), involved a complex development application that requested several

variances and special exceptions, which triggered administrative review before the

challenged development condition was imposed. Id. at 1086. Accordingly, Nollan/Dolan

scrutiny was appropriate, and the opinion gives no hint that the parties disputed the

standard of review on the takings issue.

               Notably, Plaintiffs have not addressed any of the cases cited in the Metropolitan

Government’s motion for summary judgment that recognize and apply a doctrinal

distinction between legislative and administrative takings.




{N0432493.1}                                       5

      Case 3:20-cv-00922 Document 35 Filed 10/11/21 Page 5 of 7 PageID #: 514
               C. A Variance And Appeal Option Does Not Convert The Sidewalk
                  Ordinance To An Unconstitutional Exaction.
               While the sidewalk ordinance applies broadly and automatically, it does not have to

apply rigidly. The ordinance allows Nashville’s Zoning Administrator to alter or eliminate

its requirements or reduce the amount of an in-lieu fee. (Metro. Code § 17.20.120(A)(3)(b),

Doc. No. 1-2 at 3.) It also allows a permit applicant to ask the Board of Zoning Appeals

(“BZA”) for a variance. (Metro. Code § 17.20.125, Doc. No. 1-2 at 6.) These options offer

flexibility to permit applicants. They do not convert the sidewalk ordinance into an

unlawful exaction because the ordinance applies uniformly and without regard to

individual property features. (Metro Code § 17.20.120(A), Doc. No. 1-2 at 2-4.) Thus, the

sidewalk ordinance’s requirements can be relaxed or eliminated, but only then does the

Metropolitan Government individually assess a particular property. By that time, the

ordinance has already been applied; the variance process offers the Zoning Administrator or

the BZA limited discretion to alter or remove the ordinance’s requirements.

               A property owner can apply for a variance from nearly any part of the Metropolitan

Zoning Code. (Metro. Code § 17.40.330, attached as Exhibit 3.) Such variance procedures

are commonplace, and do not transform zoning regulations into exactions. If that were so,

the zoning codes of cities and towns across the country would suddenly be subject to Fifth

Amendment challenges. In one court’s understated view, such a world “in which every city

ordinance was subject to an unconstitutional exaction challenge would be unworkable.”

Ballinger v. City of Oakland, 398 F. Supp. 3d 560, 572 (N.D. Cal. 2019). Accordingly, a

variance option can immunize an ordinance from a facial takings challenge. See Lake

Nacimiento Ranch Co. v. Cty. of San Luis Obispo, 841 F.2d 872, 877 (9th Cir. 1987); Home

Builders Assn. v. City of Napa, 108 Cal.Rptr.2d 60, 64 (2001).




{N0432493.1}                                        6

      Case 3:20-cv-00922 Document 35 Filed 10/11/21 Page 6 of 7 PageID #: 515
                                          Respectfully submitted,

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                              CERTIFICATE OF SERVICE

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on this the 11th day of October, 2021.

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{N0432493.1}                                7

      Case 3:20-cv-00922 Document 35 Filed 10/11/21 Page 7 of 7 PageID #: 516
